EXHIBIT A
EXHIBIT B
From: sop@cogencyglobal.com
Date: May 27, 2022 at 6:01:02 PM EDT
To: Charlotte Casey <Charlotte.Casey@sigsauer.com>
Subject: Service of Process for Entity: SIG SAUER INC.


[External Message]




       NOTICE OF SERVICE OF PROCESS

Entity Served:       SIG SAUER INC.
Received in:         Arizona

COGENCY GLOBAL INC. has received the enclosed document on behalf
of the above named entity. As the appointed registered agent or agent for
service of process for the entity, we are forwarding the document to you.
By clicking the “Retrieve Document” button you acknowledge the receipt
of this service of process on behalf of the entity listed.


       Client Group:     SIG SAUER, INC.
       SOP Number:       825716
   Document Type:        Summons & Complaint
    Date of Service:     5/27/2022
    Service Method:      Personal
               Court:    Superior Court, Maricopa County, Arizona State
 Document Caption:       Harvey Winingham vs SIG SAUER INC.
      Case Number:       CV2022-006645
  Original to Follow:    No
   Delivery Method:      Email
EXHIBIT C
                                                                                 1 Jodi L. Mullis
                                                                                   Arizona Bar No. 024044
                                                                                 2 jlmullis@wshblaw.com
                                                                                   Taila K. Lewis
                                                                                 3 Arizona Bar No. 036689
                                                                                   tklewis@wshblaw.com
                                                                                 4 WOOD, SMITH, HENNING & BERMAN LLP
                                                                                   2525 E. Camelback Road, Suite 450
                                                                                 5 Phoenix, Arizona 85016-4210
                                                                                   Phone: 602-441-1300 ♦ Fax: 602-441-1350
                                                                                 6
                                                                                   Attorneys for Defendant Sig Sauer, Inc.
                                                                                 7
                                                                                 8                                   UNITED STATES DISTRICT COURT
                                                                                 9                                   FOR THE DISTRICT OF ARIZONA
                                                                                10
                                                                                11 Harvey Winingham, an individual,                         Case No. ______________________
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 602-441-1300 ♦ FAX 602-441-1350
                                      2525 E. CAMELBACK ROAD, SUITE 450




                                                                                12                      Plaintiff,                          Maricopa County Case No.: CV2022-006645
                                          PHOENIX, ARIZONA 85016-4210




                                                                                13            v.                                            DECLARATION OF
                                                 Attorneys at Law




                                                                                                                                            STEVEN SHAWYER
                                                                                14 Sig Sauer, Inc., a foreign corporation,
                                                                                15                      Defendant.
                                                                                16
                                                                                17            Pursuant to 28 U.S.C. § 1746, I, Steven Shawver, declare as follows:
                                                                                18            1.        I am over the age of 18, of sound mind and fully capable of making this declaration.
                                                                                19            2.        I am, and at all times material to this declaration have been, the Executive Vice
                                                                                20 President and Chief Legal Officer for Sig Sauer, Inc. Based upon my duties in these positions, my
                                                                                21 review of the corporate and business records of Sig Sauer, Inc. and my direct personal knowledge of
                                                                                22 Sig Sauer, Inc.'s business, I am personally acquainted with the facts set forth in this Declaration.
                                                                                23            3.        The factual statements made in this Declaration are true and correct and are based
                                                                                24 on my personal knowledge as described in Paragraph 2 above.
                                                                                25            4.        Sig Sauer, Inc. is a Delaware corporation with its principal place of business in
                                                                                26 the State of New Hampshire.
                                                                                27 . . .
                                                                                28 . . .


                                                                                     24816030.1:11024-0116
                                                                                 1            I declare under penalty of perjury that the foregoing is true and correct.
                                                                                 2            Executed on this 15th day of June 2022.
                                                                                 3
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                                                                                                                              STEVEN SHAWVER
                                                                                 6
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WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 602-441-1300 ♦ FAX 602-441-1350
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                                          PHOENIX, ARIZONA 85016-4210




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                                                 Attorneys at Law




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                                                                                     24816030.1:11024-0116                              -2-
                                                                                 1                                  CERTIFICATE OF SERVICE
                                                                                 2                    I hereby certify that on the 16th day of June 2022, the foregoing document
                                                                                 3   entitled, DECLARATION OF STEVEN SHAWYER was e-filed and served via
                                                                                 4   electronic service through the United States District Court for the District of Arizona's
                                                                                 5   ECF System and upon attorney Douglas C. Erickson of Maynard Cronin Erickson &
                                                                                 6 Curran, P.L.C. who is registered as an electronic case filing user with the Clerk.
                                                                                 7
                                                                                 8
                                                                                                                    By: /s/ Wendy L. Echols
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WOOD, SMITH, HENNING & BERMAN LLP


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                                          PHOENIX, ARIZONA 85016-4210




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                                                 Attorneys at Law




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EXHIBIT D
                                                                                 1 Jodi L. Mullis
                                                                                   Arizona Bar No. 024044
                                                                                 2 jlmullis@wshblaw.com
                                                                                   Taila K. Lewis
                                                                                 3 Arizona Bar No. 036689
                                                                                   tklewis@wshblaw.com
                                                                                 4 WOOD, SMITH, HENNING & BERMAN LLP
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                                                                                   Phone: 602-441-1300 ♦ Fax: 602-441-1350
                                                                                 6
                                                                                   Attorneys for Defendant Sig Sauer, Inc.
                                                                                 7
                                                                                 8                    SUPERIOR COURT OF THE STATE OF ARIZONA
                                                                                 9                                  COUNTY OF MARICOPA
                                                                                10
                                                                                11 Harvey Winingham, an individual,                  Case No. CV2022-006645
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 602-441-1300 ♦ FAX 602-441-1350
                                      2525 E. CAMELBACK ROAD, SUITE 450




                                                                                12                 Plaintiff,                        NOTICE OF FILING NOTICE OF
                                          PHOENIX, ARIZONA 85016-4210




                                                                                                                                     REMOVAL OF CIVIL ACTION
                                                                                13         v.
                                                 Attorneys at Law




                                                                                                                                     [Assigned to Honorable Katherine Cooper]
                                                                                14 Sig Sauer, Inc., a foreign corporation,
                                                                                                                                     Trial Date:          None Set
                                                                                15                 Defendant.
                                                                                16
                                                                                17 TO THE HONORABLE JUDGE OF THIS COURT:
                                                                                18         Defendant Sig Sauer, Inc. files this Notice of Removal of Civil Action pursuant to
                                                                                19 28 U.S.C. § 1446(d).
                                                                                20         Notice is hereby given that, pursuant to the provisions of 28 U.S.C. §§ 1332, 1441
                                                                                21 and 1446, Defendant Sig Sauer has on the 16th day of June 2022, filed in the United States
                                                                                22 District Court for the District of Arizona a Notice of Removal to remove civil action number
                                                                                23 CV2022-006645 from the Superior Court of Arizona in the County of Maricopa to the
                                                                                24 United States District Court for the District of Arizona. See Notice of Removal (Ex. A)
                                                                                25 (without exhibits). Pursuant to 28 U.S.C. § 1446(d), removal is effective with the filing of
                                                                                26 such notice, and the state court is to proceed no further unless and until the case is remanded.
                                                                                27 / / /
                                                                                28 / / /
                                                                                 1         RESPECTFULLY SUBMITTED this 16th day of June 2022.
                                                                                 2                                     WOOD, SMITH, HENNING & BERMAN LLP
                                                                                 3
                                                                                 4                                     By:
                                                                                 5                                               JODI L. MULLIS
                                                                                                                                 TAILA K. LEWIS
                                                                                 6                                     Attorneys for Defendant Sig Sauer, Inc.
                                                                                 7
                                                                                 8
                                                                                   ORIGINAL of the foregoing e-filed
                                                                                 9 this 16th day of June 2022 with:
                                                                                   Maricopa County Superior Court
                                                                                10 via AZTurboCourt.
                                                                                11
WOOD, SMITH, HENNING & BERMAN LLP




                                                                                   COPY of the foregoing e-served
                                    TELEPHONE 602-441-1300 ♦ FAX 602-441-1350
                                      2525 E. CAMELBACK ROAD, SUITE 450




                                                                                12 this same date to:
                                          PHOENIX, ARIZONA 85016-4210




                                                                                13
                                                                                   Douglas C. Erickson, Esq.
                                                 Attorneys at Law




                                                                                14 Maynard Cronin Erickson & Curran, P.L.C.
                                                                                   3200 N. Central Ave., Ste. 1800
                                                                                15 Phoenix, AZ 85012
                                                                                16 derickson@mmcec.com
                                                                                   Attorneys for Plaintiff
                                                                                17
                                                                                18
                                                                                     By: /s/ Wendy L. Echols
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